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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK.
-----------------------------------------------------------X

In re
                                                              Chapter 7
         PAWEL CAPALA,

                          Debtor.                             Case No. 15-B-42763 (NHL)


----------------------------------------------------------X

         DEBTOR’S STATEMENT OF NON-OBJECTION/ SUPPORT TO
            JENNIFER CAPALA’S MOTION TO DISMISS CASE.


         PAWEL CAPALA (“Debtor”), debtor herein, by his undersigned attorneys, The

Law Offices of Gabriel Del Virginia, for his Statement of Nonobjection/Support to

Jennifer Capala’s Motion to Dismiss Case [ECF # 60; with ECF #65 “Dismissal

Motion”], and says:

         1.      Debtor has reviewed the Dismissal Motion and related submissions of

his ex-wife, Mrs. Jennifer Capala (“Jennifer”).

         2.      Debtor is of the opinion that the points raised by Jennifer in the

Dismissal Motion have legal and factual merit, viz the filing was initially made in the

improper district as the Debtor did not live in the District for 180 days prior to the
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filing and had no assets or active businesses or business assets in the District in this

period either and, accordingly, the case should be dismissed.

      3.     Importantly, the dismissal would not affect the right of creditors making

up the creditor body in this estate to continue to prosecute their claims.

      4.     Debtor submits that he has been living within Columbia County since

2007; and has been working in Columbia County (when he can find work) since the

demise of his business Capala Bros, Inc. (“CPI”) in 2014, when the business assets

were seized by creditors.

      5.     Accordingly, at the time of the filing and for more than 180 days before

that, the Debtor had no assets located in the Eastern District of New York

whatsoever. The two companies listed on his schedules had no assets and did not

conduct any business since the ast of them, CPI, was shuttered in 2014.

      6. Crystal Clear Development (“CCD”) was a company started by Jennifer

and her mother to do a condominium development that never came to fruition. It is

a paper company and had and has no assets or business in the Eastern District since

prior to the Debtor’s divorce from Jennifer.

      7. Debtor is cognizant of the material errors and omissions in his petition and

schedules and states only that if he chooses to file again in a proper District that

Debtor will endeavor to correct any omissions, misstatements and mis-information

that presently exists in his petition and schedules, and to that end respectfully

requests that if the Court is inclined to grant the dismissal here that it do so without

prejudice.
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             WHEREFORE,          Debtor Pawel Capala, has no opposition to the entry

of an order dismissing his Chapter 7 Bankruptcy Casetogether with allsuch other and

further relief as the Court might find to be appropriate.



Dated:       New York, New York
             April 15, 2018.


                                 LAW OFFICES OF GABRIEL DEL VIRGINIA
                                 Attorneys for the Debtor,
                                 Mr. Pawel Capala.



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